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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 18-20758-CR-COOKE

  UNITED STATES OF AMERICA

  Vs.

  MANUEL ANTONIO BALDIZON MENDEZ
  ________________________________________/

                                ORDER UNSEALING CASE

         The United States of America, having applied to this Court for an Order unsealing certain

  items on the docket, and the Court finding good cause:

         IT IS HEREBY ORDERED that the following docket entries: ECF No.1 (Motion to Seal

  the Information); ECF No.2 (Order on Motion to Seal); ECF No.3 (Information); ECF No.4

  (Attorney Appearance); ECF No.5 (Waiver of Indictment); ECF No.7 (Detention Order); ECF

  No.8 and 9 (Guilty Plea and Minutes); ECF No.10 (Notice of Sentencing); ECF No.11 (Plea

  Agreement); ECF No.12 (Factual Proffer); ECF No.22 (Motion to Seal); ECF No.23 (Motion to

  Adjourn); ECF No.25 (Order on Motion to Adjourn); ECF No.27 and 28 (Motions to Seal and

  Adjourn); ECF No.29 (Order on Motions); ECF No.30 and 31 (Motions to Seal); ECF No.33

  (Sentencing Minutes); ECF No.34 (Judgment); ECF No. 36 and 37 (Forfeiture Motion and

  Sealing Motion), and this order to be UNSEALED, and that any other docket entries, documents

  or transcripts pertaining to the defendant remain SEALED until further order of this Court.

         DONE AND ORDERED in chambers at Miami, Florida this 12th day of November 2019.
